     Case 20-10195-jal                 Doc 10            Filed 03/04/20       Entered 03/05/20 01:03:49                      Page 1 of 4
Information to identify the case:
Debtor 1              Phillip Clay Huckelby                                             Social Security number or ITIN         xxx−xx−4958
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Lisa Susan Huckelby                                               Social Security number or ITIN         xxx−xx−1494
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Kentucky
                                                                                        Date case filed for chapter 7 2/28/20
Case number:          20−10195−jal


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Phillip Clay Huckelby                               Lisa Susan Huckelby

2.      All other names used in the
        last 8 years

3.     Address                               549 Hurt Road                                           549 Hurt Road
                                             Burkesville, KY 42717                                   Burkesville, KY 42717

4.     Debtor's attorney                     Benjamin D. Rogers                                     Contact phone (270) 651−2258
                                             102 E. Public Square
       Name and address                      Glasgow, KY 42141                                      Email: lisa.walker@rogersanddriver.com

5.     Bankruptcy trustee                    Mark H. Flener                                         Contact phone (270) 783−8400
                                             P.O. Box 8
       Name and address                      1143 Fairway Street, Suite 101                         Email: mark@Flenerlaw.com
                                             Bowling Green, KY 42102−0008
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Phillip Clay Huckelby and Lisa Susan Huckelby                                                                  Case number 20−10195−jal


6. Bankruptcy clerk's office                    450 U.S. Courthouse                                          Hours open:
                                                601 W. Broadway                                              8:30 a.m. to 4:30 p.m. Eastern
    Documents in this case may be filed at this Louisville, KY 40202                                         Time Zone
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone 502−627−5700

                                                                                                             Date: 3/2/20

7. Meeting of creditors                          April 3, 2020 at 09:30 AM                                   Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              William Natcher Federal
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Courthouse, 241 East Main
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket. Case may be dismissed without further               Street, Third Floor, Bowling
                                                 notice if debtor fails to attend the meeting.               Green, KY 42101

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 6/2/20
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
        Case 20-10195-jal      Doc 10     Filed 03/04/20      Entered 03/05/20 01:03:49        Page 3 of 4
                                      United States Bankruptcy Court
                                      Western District of Kentucky
In re:                                                                                  Case No. 20-10195-jal
Phillip Clay Huckelby                                                                   Chapter 7
Lisa Susan Huckelby
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0644-1           User: sweber                 Page 1 of 2                   Date Rcvd: Mar 02, 2020
                               Form ID: 309A                Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 04, 2020.
db/jdb         +Phillip Clay Huckelby,    Lisa Susan Huckelby,     549 Hurt Road,    Burkesville, KY 42717-7429
6664697        +American Clinical Solutions,    2234 N Federal HWY Ste 469,     Boca Raton, FL 33431-7710
6664698         Associates in Pulmonary,    Gul K Sahetya MD,     PO Box 90039,    Bowling Green, KY 42102-9039
6664699        +B F Taylor Medical Arts Center,     PO Box 630,    Burkesville, KY 42717-0630
6664702       ++CITIZENS BANK OF CUMBERLAND COUNTY,     PO BOX 810,    BURKESVILLE KY 42717-0810
               (address filed with court: Citizens Bank of Cumberland,       PO Box 810,    Burkesville, KY 42717)
6664700        +Cardiac Surgery of Southern KY,     350 Park Street Ste 210,    Bowling Green, KY 42101-1784
6664701        +CarePayment Customer Care,    9600 SW Nimbus Avenue Ste 260,      Beaverton, OR 97008-7386
6664705        +First & Farmers National Bank,     PO Box 337,    Burkesville, KY 42717-0337
6664710        +Hillcrest Credit Agency,    P.O. Box 2220,     Bowling Green, KY 42102-2220
6664711        +Hodges & Adams,    Hon Charles W Adams,    PO Box 1865,    Bowling Green, KY 42102-1865
6664712        +Hodges & Adams,    Hon Hoy P Hodges,    PO Box 1865,    Bowling Green, KY 42102-1865
6664713         K G Sahetya PSC,    PO Box 90039,    Bowling Green, KY 42102-9039
6664714         Medical Center at Bowling Green,     PO Box 90010,    Bowling Green, KY 42102-9010
6664715        +Metcalfe Circuit Court,    Case No. 19-CI-00067,     PO Box 27,    Edmonton, KY 42129-0027
6664716        +Metcalfe District Court,    Case No. 19-C-00116,     PO Box 27,    Edmonton, KY 42129-0027
6664719         Springfield Radiology Assoc PC,     PO Box 291283,    Nashville, TN 37229-1283
6664720         T J Samson Business Office,    PO Box 645573,     Cincinnati, OH 45264-5573
6664722        +TJ Samson Community Hospital,     Business Office,    1301 North Race Street,
                 Glasgow, KY 42141-3454
6664721        +Taylor Regional ENT,    1698 Old Lebanon Road,     Campbellsville, KY 42718-9662
6664724         Zoll Services LLC,    269 Mill Road,    Chelmsford, MA 01824-4105

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: lisa.walker@rogersanddriver.com Mar 02 2020 19:50:14         Benjamin D. Rogers,
                 102 E. Public Square,    Glasgow, KY 42141
tr             +EDI: BMHFLENER.COM Mar 03 2020 00:33:00       Mark H. Flener,    P.O. Box 8,
                 1143 Fairway Street, Suite 101,    Bowling Green, KY 42103-2452
ust            +E-mail/Text: ustpregion08.lo.ecf@usdoj.gov Mar 02 2020 19:50:53         Charles R. Merrill,
                 Asst. U.S.Trustee,    601 West Broadway #512,    Louisville, KY 40202-2229
cr             +EDI: RMSC.COM Mar 03 2020 00:33:00       Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk, VA 23541-1021
6664703         E-mail/Text: jamiecollins@cchospital.org Mar 02 2020 19:50:47        Cumberland County Hospital,
                 P.O. Box 280,    Burkesville, KY 42717-0280
6664704         E-mail/Text: jamiecollins@cchospital.org Mar 02 2020 19:50:47
                 Cumberland County Hospital Assoc.,    P.O. Box 280,     Burkesville, KY 42717-0280
6664706         E-mail/Text: jamiecollins@cchospital.org Mar 02 2020 19:50:47        Flowers Rural Health Clinic,
                 PO Box 1079,   Burkesville, KY 42717-1079
6664707         E-mail/Text: bankruptcies@foxcollection.com Mar 02 2020 19:50:54
                 Fox Collection Center, Inc.,    456 Moss Trail,    P.O. Box 528,    Goodlettsville, TN 37070-0528
6664709         E-mail/Text: bankruptcy@glacompany.com Mar 02 2020 19:50:19        GLA Collection Co., Inc.,
                 P.O. Box 991199,    Louisville, KY 40269-1199
6664708         E-mail/Text: bankruptcy@glacompany.com Mar 02 2020 19:50:19        GLA Collection Co., Inc.,
                 PO Box 588,   Greensburg, IN 47240-0588
6664717        +E-mail/Text: financial@mcmccares.com Mar 02 2020 19:51:13        Monroe County Medical Center,
                 529 Capp Harlan Road,    Tompkinsville, KY 42167-1840
6664718        +EDI: RMSC.COM Mar 03 2020 00:33:00       PayPal Credit,    PO Box 5138,
                 Lutherville Timonium, MD 21094-5138
6665817        +EDI: RMSC.COM Mar 03 2020 00:33:00       Synchrony Bank,    c/o of PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk, VA 23541-1021
6664723        +E-mail/Text: bankruptcydepartment@tsico.com Mar 02 2020 19:51:33         Transworld Systems Inc,
                 PO Box 15270,    Wilmington, DE 19850-5270
                                                                                                TOTAL: 14

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
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                                      Form ID: 309A                      Total Noticed: 34


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 04, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 2, 2020 at the address(es) listed below:
              Benjamin D. Rogers   on behalf of Joint Debtor Lisa Susan Huckelby
               lisa.walker@rogersanddriver.com, rogersbr82851@notify.bestcase.com
              Benjamin D. Rogers   on behalf of Debtor Phillip Clay Huckelby lisa.walker@rogersanddriver.com,
               rogersbr82851@notify.bestcase.com
              Charles R. Merrill   ustpregion08.lo.ecf@usdoj.gov
              Mark H. Flener   mark@Flenerlaw.com, ky11@ecfcbis.com;deanna@flenerlaw.com
                                                                                            TOTAL: 4
